CaSe:lO-21034-E.]C DOC#§1264 Filed:lO/28/14 Entered:lO/28/14 14233:09 Page:l Of2

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

In re:
Chapter ll

SEA lSLAND COMPANY, et al.,
Case No. 10~2l034 - JSD

Join’dy Administered
Debtors, ‘

 

Contested Matter
SEA ISLAND ACQUISITION, LLC,

Movan’£,

vs.
Judge Jolm S. Dalis

ROBERT H, BARNETT, Liquidation Trustee
under the Sea Island Liquidation Trust,

`/\/\/v\/\/\/\/V\'/\'/k./VV\/V\/V\/

Resnondent.

S'I`IPULATION OF EXTENSION OF TI]V,[E T{) RESPOND
AND ()BJECT TO (I) SEA ISLANI) ACQUISITION LLC’S FIRST
REQUEST FOR PRODUCTION OF I)OCUMENTS T(} ROBER'I` H.
BARNETT, LIQUIDATION TRUSTEE, (II) SEA ISLAND
ACQUISITION LLC’S FIRST REQUESTS FOR ADMISSION
TO ROBERT H. BARNETT, LIQUIDATI()N TRUSTEE, AND (III)
SEA ISLAND ACQUISITION LLC’S FIRST INTERROGATORIES
TO ROBERT H. BARNETT., LIQUII)ATION TRUSTEE

COMES NOW Robert H. Bameu as liquidation Trustee (the “Liquidation Trustee”)
under the Sea Island Company Liquidation Trust and Sea Island Acquisition LLC and hereby
stipulate and agree that the Liquidation Trustee shall have through and including November ll,

2014 to respond and Obj oct to the following (i) Sea ISland Acquisition LLC’s First Request for

Productic)n of Documents to Robert H, Barnett, liquidation Trustee; (ii) Sea lsland Acquisition

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LLC’s First Requests for Admission to Robei“c H. Barnelt, Liquidation Trustee; and (iii) Sea

Island Acquisition LLC’s First Interrogator_ies to Robert H. Barnett, Liquidation Trustee.

63 8745 8.3

This 22 day of October, 2014.

 

 

o ert M.'D. Mercer
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Counselfor RobertH. Barnett as the
Liquz`dation Trustee Una’er the Sea Island
Company Liquz`dation Trust

 

 

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